                                  UNITED STATES BANKRUPTCY COURT

                                            DISTRICT OF HAWAII

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  LIANE NANCY WILSON                                                          &DVH1R   10-02786
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                                         ORDER DISMISSING CASE

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